              Case 2:19-cr-00117-JLR Document 114 Filed 06/29/21 Page 1 of 3




 1                                                            The Honorable James L. Robart
 2
 3
 4
 5
 6
                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                        CASE NO. CR19-117 JLR
10
                                        Plaintiff,     UNITED STATES’ EXHIBIT LIST
11
                               v.
12
13    SHAWNA REID,
14
                                        Defendant.
15
16
17          The United States of America, by and through Nicholas L. McQuaid, Acting
18 Assistant Attorney General, United States Department of Justice, Matthew K. Hoff and
19
   Christina Taylor, Trial Attorneys, files this Exhibit List identifying each exhibit the
20
21 Government may introduce at trial. The Government reserves the right to supplement, or
22 otherwise revise, the exhibit list with additional exhibits as necessary prior to and during
23
   trial.
24
25
26
27   United States’ Exhibit List                                 ASSISTANT ATTORNEY GENERAL
                                                                    1301 NEW YORK AVENUE, NW
     United States v. Reid, No. CR19-117 JLR- 1
                                                                             SUITE 700
28                                                                    WASHINGTON, D.C. 20005
                                                                           (202) 514-3594
              Case 2:19-cr-00117-JLR Document 114 Filed 06/29/21 Page 2 of 3




1           Exhibit No.         Description         Introduced               Admitted
2               1       Transcript of Shawna
                        Reid’s Testimony before the
3                       Grand Jury on February 28,
4                       2018
                2       Special Agent Anderson’s
5                       notes for August 23, 2017
6                       Interview
                3       Detective Conrad’s Notes
7                       for August 23, 2017
8                       Interview
                4       Detective Conrad’s notes
9                       for August 25, 2017
10                      Interview
                5       FBI 302 Report for August
11                      23, 2017 Interview
12              6       FBI 302 Report for August
                        25, 2017 Interview
13              7       FBI 302 Report for August
14                      25, 2017 Interview
                8       FBI 302 Report for
15                      December 7, 2017
16                      Interview
17
18
            Respectfully submitted, this the 29th day of June, 2021.
19
20                                                Nicholas L. McQuaid
21                                                Acting Assistant Attorney General
22                                                s/Matthew K. Hoff
23                                                MATTHEW K. HOFF
                                                  Trial Attorney
24
25                                                s/Christina Taylor
                                                  CHRISTINA TAYLOR
26                                                Trial Attorney
27   United States’ Exhibit List                                   ASSISTANT ATTORNEY GENERAL
                                                                      1301 NEW YORK AVENUE, NW
     United States v. Reid, No. CR19-117 JLR- 2
                                                                               SUITE 700
28                                                                      WASHINGTON, D.C. 20005
                                                                             (202) 514-3594
              Case 2:19-cr-00117-JLR Document 114 Filed 06/29/21 Page 3 of 3




1                                      CERTIFICATE OF SERVICE
2           I hereby certify that on June 29, 2021, I electronically filed the foregoing with the
3 Clerk of the Court using the CM/ECF system which will send notification of such filing
4 to the attorney(s) of record for the Defendant(s).
5
6                                                 /s/ Christina Taylor
7                                                 CHRISTINA TAYLOR
                                                  Trial Attorney
8                                                 Organized Crime and Gang Section
9                                                 U.S. Department of Justice
                                                  1301 New York Avenue, NW
10                                                Suite 700
                                                  Washington, D.C. 20005
11                                                Tel.: (202) 679-1034
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27   United States’ Exhibit List                                    ASSISTANT ATTORNEY GENERAL
                                                                       1301 NEW YORK AVENUE, NW
     United States v. Reid, No. CR19-117 JLR- 3
                                                                                SUITE 700
28                                                                       WASHINGTON, D.C. 20005
                                                                              (202) 514-3594
